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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 07-60238-CR-ZLOCH

  UNITED STATES OF AMERICA,

              Plaintiff,

  vs.                                                        O R D E R

  PATRICK AIKEN,

              Defendant.
                                      /

        THIS MATTER is before the Court upon Defendant Patrick Aiken’s

  Motion For Missing Witness Instruction (DE 148).            The Court has

  carefully reviewed said Motion and the entire court file and is

  otherwise fully advised in the premises.

        The instant Motion seeks a missing witness jury instruction

  due to the unavailablity of confidential informant Langford Jackto.

  In February of 2007, Jackto entered into a Substantial Assistance

  Agreement with the Broward County State Attorney’s Office.           Jackto

  was sentenced on August 1, 2007, and received a reduction of his

  sentence for rendering substantial assistance.         Thereafter, Jackto

  was advised by officials with the United States Citizenship and

  Immigration     Services   that   he    had   a   choice   between   formal

  deportation and voluntary departure from the United States.

        From August of 2007 through September 19, 2007, Jackto worked

  as a confidential informant with Broward County Sheriff’s Office

  Detective Jason Hendrick and Drug Enforcement Special Agent Steve

  McKean on this case.       During this period of time, Jackto set up
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  meetings with the Defendants and Special Agent McKean to discuss a

  narcotics robbery.      The robbery took place on September 19, 2007,

  and all named Defendants in the above-styled cause were arrested.

        On October 3, 2008, Detective Hendrick learned that Jackto

  intended to self-deport, and in fact, Jackto showed Detective

  Hendrick an airline ticket set for departure to Jamaica on October

  4, 2008.     Neither Detective Hendrick, nor Special Agent McKean

  contacted immigration officials regarding formal deportation or the

  voluntary departure of Jackto.           Subsequent to October 4, 2008,

  Detective Hendrick learned that Jackto was not onboard the flight

  to Jamaica, and his whereabouts are presently unknown to the

  prosecution and the defense.

        When a witness is unavailable to testify at trial, a defendant

  may receive a missing witness instruction when all of the following

  three elements have been met: 1) the witness is peculiarly within

  the control of one party, 2) the testimony would be relevant to

  facts at issue, and 3) the witness’s testimony would not be adverse

  to the defendant.     United States v. Nahoom, 791 F.2d 841, 846 (11th

  Cir. 1986); United States v. Link, 921 F.2d 1523, 1529 (11th Cir.

  1991). Defendant Patrick Aiken has failed to establish that Jakcto

  is peculiarly within the control of the prosecution.             The facts

  demonstrate that Jackto’s whereabouts is presently unknown to any

  Party.     Therefore,    Defendant   Aiken   cannot   satisfy   the   first

  element.


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        Furthermore, Jackto’s unavailability is not the result of the

  prosecution’s actions. As previously stated, immigration officials

  gave Jackto the option of self-departure or formal deportation.

  The Court will not impart an action taken by immigration officials

  to the prosecution.       By prior Order (DE 161), the Court denied

  Defendant Patrick Aiken’s Motion To Dismiss (DE 122) finding that

  the prosecution is not responsible for Jackto’s unavailability.

  Similarly, for the purpose of this Motion, the prosecution does not

  have control over Jackto sufficient to warrant a missing witness

  instruction.

        Accordingly, after due consideration, it is

        ORDERED AND ADJUDGED that Defendant Patrick Aiken’s Motion For

  Missing Witness Instruction (DE 148) be and the same is hereby

  DENIED.

        DONE AND ORDERED in Chambers at Fort Lauderdale, Broward

  County, Florida, this       7th      day of May, 2008.




                                      WILLIAM J. ZLOCH
                                      United States District Judge

  Copies furnished:

  All Counsel of Record




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